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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

CHRISTOPHER BELL,                                            CASE NO.:

       Plaintiff,

v.

AMERI-PRIDE PEST CONTROL
SERVICES, INC.,
a Florida Profit Corporation,

      Defendant.
_____________________________________/

                     COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, CHRISTOPHER BELL (“Mr. Bell” or “Plaintiff”), by and through undersigned

counsel, files this Complaint against Defendant, AMERI-PRIDE PEST CONTROL SERVICES,

INC. (“APPCS” or “Defendant”), a Florida Profit Corporation, and states as follows:

                                JURISDICTION AND VENUE

        1.      Jurisdiction in this Court is proper as the claims are brought pursuant to the Fair

 Labor Standards Act, as amended (29 U.S.C. § 201, et seq., hereinafter called the “FLSA”), and

 under Florida’s Private Whistleblower Act (“FWA”) to recover from Defendant overtime

 compensation, an additional equal amount as liquidated damages, lost wages, benefits,

 compensatory damages, including front pay and back pay and emotional distress damages,

 declaratory and injunctive relief, and reasonable attorneys’ fees and costs.

        2.      Venue is proper in this Court, as the illegal conduct complained of and the

 resultant injury occurred in Pinellas County, Florida.



                              PARTIES AND FLSA COVERAGE
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       3.      At all times material hereto, Plaintiff was a resident of Pasco County, Florida.

       4.      At all times material hereto, Defendant was, and continues to be, a Florida Profit

Corporation located in Clearwater, Pinellas County, Florida, and continues to be engaged in

business in Pinellas County, Florida.

       5.      At all times material hereto, Plaintiff was “engaged in commerce” within the

meaning of §6 and §7 of the FLSA, but not for purposes of the Motor Carrier Act.

       6.      At all times material hereto, Plaintiff was engaged in the “production of goods for

commerce” and subject to the individual coverage of the FLSA, but not for purposes of the

Motor Carrier Act.

       7.      At all times material hereto, Plaintiff was an “employee” of Defendant within the

meaning of the FLSA and the FWA.

       8.      At all times material hereto, Defendant was the “employer” within the meaning of

the FLSA and the FWA.

       9.      At all times material hereto, Defendant was, and continues to be, “an enterprise

engaged in commerce,” within the meaning of the FLSA.

       10.     At all times material hereto, Defendant was, and continues to be, an enterprise

engaged in the “production of goods for commerce,” within the meaning of the FLSA.

       11.     Based upon information and belief, the annual gross revenue of Defendant, during

all times relevant, was in excess of $500,000.00 per annum during the relevant time periods.

       12.     At all times relevant hereto, Defendant was primarily engaged in the provision of

pest control, lawn maintenance, and fertilization services in, among other places, Pinellas

County, Florida.

       13.     At all times material hereto, Defendant had two (2) or more employees handling,
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selling, or otherwise working on goods or materials that had been moved in or produced for

commerce.

        14.   At all times material hereto, the work performed by Plaintiff was directly essential

to the business performed by Defendant.

        15.   At all times material hereto, Defendant employed ten (10) or more persons.

                                 STATEMENT OF FACTS

        16.   Plaintiff worked as an hourly paid and non-exempt Crew Member and, later,

Crew Leader for Defendant from May 15, 2018, until his unlawful termination on December 15,

2018.

        17.   Plaintiff performed non-exempt duties for Defendant and was therefore entitled to

be compensated for overtime work.

        18.   At various times material hereto, Plaintiff worked for Defendant in excess of forty

(40) hours within a work week.

        19.   Mr. Bell was not exempt from overtime under the FLSA and should have been

paid his full and proper overtime compensation.

        20.   Mr. Bell had no authority to hire or fire employees of APPCS.

        21.   Mr. Bell had no authority to discipline employees of APPCS.

        22.   Mr. Bell had no authority to determine the schedules to be worked by any

employees of APPCS, or to change their schedules.

        23.   Mr. Bell had no authority to set rates of pay for other employees or agents of

APPCS.

        24.   Mr. Bell had no input into performance reviews of other employees or agents of

APPCS.
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         25.   All of Plaintiff’s major decisions had to be cleared in advance by one of APPCS’s

supervisors.

         26.   Mr. Bell was closely monitored by APPCS’s managers and supervisors at all

times.

         27.   Plaintiff followed procedures established by APPCS and did exactly as he was

instructed to do.

         28.   Throughout Plaintiff’s employment, Defendant regularly required Plaintiff to

work in excess of forty (40) hours per week.

         29.   Defendant paid Plaintiff an hourly rate of $13.00 per hour.

         30.   Plaintiff regularly worked sixty (60) or more hours per week for Defendant.

         31.   Defendant failed to pay Plaintiff full and proper overtime compensation for all

hours worked over forty (40) per week during the relevant limitations period.

         32.   When Plaintiff worked more than forty (40) hours in a given work week,

Defendant failed to properly pay him for all overtime hours worked.

         33.   At all times relevant, Defendant failed to keep and maintain accurate records of

all hours worked by Plaintiff.

         34.   In September of 2018, APPCS’s Office Manager, David, informed Mr. Bell that

he had been promoted to the position of Crew Leader and that he would thereafter oversee a

crew of six (6) Crew Members.

         35.   After overseeing his crew for a few days, Mr. Bell personally observed several

Crew Members using illegal or illicit drugs on the properties of Defendant’s clients and also in

Defendant’s vehicles, all while on the clock working.

         36.   Furthermore, Mr. Bell’s Crew Members would openly and brazenly discuss their
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on-the-job drug use in front of Mr. Bell and other APPCS employees.

        37.    Mr. Bell immediately objected to David, and to APPCS Account Manager, Bryan,

that APPCS’s actions violated, inter alia, Section 5(a)(1) of the Occupational Safety and Health

Act (the General Duty Clause), Section 893.13, et seq., Florida Statutes, Section 5E-9.023 of the

Florida Administrative Code, Section 5E-9.026, of the Florida Administrative Code, and Section

5E-9.034 of the Florida Administrative Code.

        38.    Mr. Bell’s objections were protected activity under the FWA.

        39.    In response, David and Bryan denied the violations of law by APPCS, and told

Mr. Bell that they could not even investigate the matter because it was, according to them,

“hearsay.”

        40.    Worse, very shortly thereafter, APPCS retaliated against Mr. Bell by reducing his

hours on the schedule quite sharply.

        41.    APPCS ramped up its retaliation against Mr. Bell for his objections to APPCS’s

violations of law by relocating him to a more distant APPCS location.

        42.    After his relocation, Mr. Bell was forced by APPCS to perform work off the

clock, including making deliveries and picking up supplies.

        43.    Also after his relocation, APPCS, when it did pay Mr. Bell for any overtime hours

worked, did so only at a straight time rate, and not at the required time-and-a-half rate under the

FLSA.

        44.    Mr. Bell objected on numerous occasions to APPCS Irrigation Manager, Robert

Youngblood, that APPCS’s pay practices violated the FLSA.

        45.    These objections were protected activity under the FLSA and the FWA.

        46.    In the weeks that followed, Mr. Bell also objected to the unsafe, fault-ridden
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vehicles that he and his crew were forced to operate and travel in by APPCS, many of which

featured faulty brakes and dangerously worn tires. Mr. Bell objected to APPCS that its actions

violated OSHA’s General Duty Clause.

       47.     Mr. Bell’s objections to these OSHA violations were protected activity under the

FWA.

       48.     APPCS’s winter break period arrived on December 15, 2018, and ended on

January 5, 2019.

       49.     In retaliation for Mr. Bell’s objections to APPCS’s various violations of law,

APPCS terminated Mr. Bell’s employment by refusing to take his calls or answer his inquiries

about whether he would be on the schedule after APPCS’s winter break ended.

       50.     Mr. Bell’s employment was terminated by APPCS, effective December 15, 2018.

       51.     Defendant terminated Plaintiff’s employment because Plaintiff objected to

Defendant’s non-payment and/or underpayment of an overtime premium under the FLSA, and

because of his other objections to Defendant’s various illegal actions and practices.

       52.     There is an extremely close temporal proximity/nexus between Plaintiff asserting

his objections to Defendant’s illegal pay practices, and to Defendant’s other violations of law,

and his termination shortly thereafter.

       53.     Plaintiff has been damaged as a result of Defendant’s retaliation and termination

of his employment.

       54.     As a result of Defendant’s unlawful and retaliatory termination of his

employment, Plaintiff has suffered severe emotional distress, including but not limited to

sleeplessness, crippling anxiety, loss of consortium, and family discord.

       55.     Plaintiff should have been compensated at the rate of one and one-half times
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Plaintiff’s regular rate for all hours that Plaintiff worked in excess of forty (40) hours per week,

as required by the FLSA, throughout his employment.

       56.     Defendant violated Title 29 U.S.C. §207 in that:

                (a) Plaintiff worked in excess of forty (40) hours in one or more workweeks for

                    his period of employment with Defendant;

                (b) No payments or provisions for payment, or insufficient payments or

                    provisions for payment, have been made by Defendant to properly

                    compensate Plaintiff at the statutory rate of one and one-half times Plaintiff’s

                    regular rate for all hours worked in excess of forty (40) hours per work week,

                    as provided by the FLSA; and

                (c) Defendant failed to maintain proper time records as mandated by the FLSA.

       57.     Prior to violating the FLSA, Defendant did not consult with an attorney to

evaluate whether Plaintiff’s actual job duties and pay structure rendered him exempt from

recovering payment for all overtime worked under the FLSA.

       58.     Prior to violating the FLSA, Defendant did not consult with the DOL to evaluate

whether Plaintiff’s actual job duties and pay structure rendered him exempt from recovering

payment for all overtime worked under the FLSA.

       59.     Prior to violating the FLSA, Defendant did not consult with an accountant to

evaluate whether Plaintiff’s actual job duties and pay structure rendered him exempt from

recovering payment for all overtime worked under the FLSA.

       60.     Based on the allegations in Paragraphs 57-59, above, Plaintiff is entitled to

liquidated damages, as Defendant has no objective or subjective good faith belief that its pay

practices were in compliance with the FLSA.
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       61.       As to his FWA Claims, Plaintiff’s objections and refusals were considered

protected activity pursuant to Fla. Stat. § 448.102(3), and qualified Mr. Bell as a whistleblower

under the law.

       62.       Plaintiff was terminated in direct retaliation for reporting and objecting to

Defendants’ unlawful actions, or what he reasonably believed to be unlawful actions, in violation

of Section 448.102 (3), Florida Statutes. See Aery v. Wallace Lincoln-Mercury, LLC, 118 So. 3d

904, 916 (Fla. 4th DCA 2013).

       63.       Plaintiff has retained the law firm of RICHARD CELLER LEGAL, P.A. to

represent him in the litigation and has agreed to pay the firm a reasonable fee for its services.

                                    COUNT I
             VIOLATION OF 29 U.S.C. § 207 OVERTIME COMPENSATION

       64.       Plaintiff reincorporates and re-alleges paragraphs 1 through 34, 42 through 45, 48

through 60, and 63 of the Complaint as though fully set forth herein, and further alleges as

follows:

       65.       Plaintiff is entitled to be paid time-and-one-half his regular rate of pay for each

hour worked in excess of forty (40) per work week.

       66.       During Plaintiff’s employment with Defendant, Plaintiff regularly worked

overtime hours, but was not paid full and proper time-and-one-half compensation for all hours

worked.

       67.       Plaintiff was not an exempt employee as defined by the FLSA.

       68.       As a result of Defendant’s intentional, willful, and unlawful acts in refusing to

pay Plaintiff time-and-one-half his regular rate of pay for each hour worked in excess of forty

(40) per work week in one or more work weeks, Plaintiff has suffered damages plus incurring

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reasonable attorneys’ fees and costs.

        69.     As a result of Defendant’s willful violation of the FLSA, Plaintiff is entitled to

liquidated damages.

       WHEREFORE, Plaintiff respectfully requests that judgment be entered in his favor

against Defendant, and that this Court:

               a.     Declare, pursuant to the FLSA, that the acts and practices complained of

                      herein are in violation of the maximum hour provisions of the FLSA;

               b.     Award Plaintiff overtime compensation in the amount due to him for time

                      worked in excess of forty (40) hours per work week;

               c.     Award Plaintiff liquidated damages in an amount equal to the overtime

                      award;

               d.     Award Plaintiff reasonable attorneys’ fees and costs and expenses of the

                      litigation pursuant to 29 U.S.C. §216(b);

               e.     Award Plaintiff pre-judgment interest; and

               f.     Order any other and further relief that this Court deems just and proper.

                                COUNT II
           UNLAWFUL RETALIATION IN VIOLATION OF 29 U.S.C. § 215(a)(3)

        70.     Plaintiff reincorporates and re-alleges Paragraphs 1 through 34, 42 through 45, 48

through 60, and 63 of the Complaint as though set forth fully herein, and further alleges as

follows:

        71.     Plaintiff objected to Defendant’s illegal pay practices after the retaliatory

relocation to which he was subjected by Defendant, and asserted violations of the FLSA.

        72.     Shortly thereafter, Defendant illegally terminated Plaintiff from his employment

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in violation of 29 U.S.C. § 215(a)(3).

        73.     Plaintiff was terminated for no other reason than his objections to Defendant’s

illegal pay practices.

        74.     As a result of Defendant’s intentional, willful, and unlawful actions, Plaintiff has

suffered damages, including but not limited to lost wages, lost benefits, lost employment status,

as well as humiliation, pain and suffering, and other monetary and non-monetary losses.

        75.     The retaliatory firing provision of the FLSA states that “it shall be unlawful for

any person ... to discharge or in any other manner discriminate against an employee because such

employee has filed any complaint ... under or related to this [Act].” 29 U.S.C. § 215(a)(3).

        76.     In EEOC v. White and Son Enterprises, 881 F.2d 1006, 1011 (11th Cir. 1989), the

Court held that “Congress sought to secure compliance with the substantive provisions of the

labor statute by having ‘employees seeking to vindicate rights claimed to have been denied,’ and

lodge complaints or supply information to officials regarding allegedly substandard employment

practices and conditions. The anti-retaliation provision of the FLSA was designed to prevent

fear of economic retaliation by an employer against an employee who chose to voice such a

grievance.” (citing to Mitchell v. Robert DeMario Jewelry, Inc., 361 U.S. 288, 292 (1960)).

       WHEREFORE, Plaintiff requests that this Court enter a judgment in his favor and

against Defendant for his actual and compensatory damages, including front pay and back pay

and emotional distress damages, for liquidated damages, as well as for his costs and attorneys’

fees, declaratory and injunctive relief, and such other and further relief as is deemed proper by

this Court.

                              COUNT III
    FLORIDA’S PRIVATE WHISTLEBLOWER ACT – UNLAWFUL RETALIATION

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        77.     Plaintiff reincorporates and re-alleges Paragraphs 1 through 4, 7 through 8, 15

through 16, 26 through 27, 34 through 54, 56 through 59, and 61 through 63 of the Complaint as

if set forth fully herein, and further alleges as follows:

        78.     On December 15, 2018, Defendant illegally terminated Plaintiff from his

employment in violation of Fla. Stat. § 448.102(3).

        79.     Plaintiff was retaliated against and terminated in violation of Section 448.102(3),

Florida Statutes, for objecting to illegal activity, or what he reasonably believed to be illegal

activity, being conducted by Defendant.

        80.     Plaintiff objected to a violation of a law, rule, or regulation, or what he reasonably

believed to be a violation of a law, rule, or regulation, and was fired as a direct result of same, which

constitutes a violation of the FWA.

        81.     As a result of Defendant’s intentional, willful and unlawful actions, Plaintiff has

suffered damages, including, but not limited to, lost wages, lost benefits, lost employment status,

as well as humiliation, pain and suffering, and other monetary and non-monetary losses.

       WHEREFORE, Plaintiff requests a judgment in his favor and against Defendant for his

actual and compensatory damages, including, but not limited to, front pay back pay, and

emotional distress damages, as well as his costs and attorneys’ fees, declaratory and injunctive

relief, and such other and further relief as is deemed proper by this Court.

                                          JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable as a matter of right by jury.

       Dated this 3rd day of June, 2020.

                                                       Respectfully submitted,

                                                       By: /s/ Noah E. Storch
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